
59 So.3d 332 (2011)
David H. TEDDER, Appellant,
v.
Sandy MAGID, etc., Appellee.
No. 5D09-3276.
District Court of Appeal of Florida, Fifth District.
April 21, 2011.
David P. Johnson, of Law Office of David P. Johnson, LLC, Fern Park, for Appellant.
Joey E. Schlosberg, of Adams &amp; Reese LLP, St. Petersburg, for Appellee.
PER CURIAM.
This appeal comes to us based on a final summary judgment in favor of the appellee, Sandy Magid, as successor Trustee of the Alta Trust dated June 30, 1999, and against the appellant, David H. Tedder. After a de novo review, we conclude that there was no genuine issue of material fact presented to the trial court, and that the appellee was entitled to a judgment as a matter of law. See Fla. R. Civ. P. 1.510. Accordingly, we affirm.
AFFIRMED.
MONACO, C.J., GRIFFIN and TORPY, JJ., concur.
